                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:11-cr-111


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
NICHOLAS LOWERY (2)                      )
________________________________________ )


       THIS MATTER is before the Court upon defendant Lowery’s Motion to Sever Counts

on Bill of Indictment. (Doc. No. 38). For the reasons stated below, the Court will deny the

motion.

I.     BACKGROUND

       The defendant is charged in Counts One through Three of the indictment for alleged

conspiracies occurring between February 25, 2011, and April 11, 2011, to rob drug dealers, to

possess with intent to distribute cocaine, and to use and carry firearms during and in relation to

the charged robbery and drug trafficking conspiracies, or to possess firearms in furtherance of

those offenses.1 (Doc. No. 9: Indictment at 1-3). Count Six alleges that the defendant, a felon,

possessed a .40 caliber Glock pistol on July 28, 2010. (Id. at 4).

       According to the Complaint, an undercover law enforcement agent asked co-defendant

McLaurin if he would be interested in robbing Mexican drug dealers for whom the agent

supposedly made cocaine deliveries. (Doc. No. 1 at 2). McLaurin agreed to do the robbery and

brought Lowery to a meeting with the agent. (Id.). During that conversation, Lowery indicated



       1
         Co-defendant Deangelo McLaurin is charged in Counts Four and Five with possessing
firearms he allegedly sold to an undercover law enforcement agent. (Doc. No. 9: Indictment at 3-
4).


     Case 3:11-cr-00111-RJC-SCR            Document 52         Filed 12/05/11     Page 1 of 4
that he had .40 and .38 caliber handguns, but expressed his desire for an AK-47 assault rifle to

use in the robbery. (Id. at 3). On the day the robbery was to be carried out, the agent asked

McLaurin and Lowery if they had “the tools,” and they responded they had everything they

needed. (Id. at 4). Lowery pointed out another vehicle nearby as their get-away car. (Id. at 3).

The defendants followed the agent to another location where they were arrested, but officers were

not able to apprehend the other car. (Id. at 5). The search of Lowery’s car revealed two sets of

black sweat pants and gloves purchased earlier that day, but no firearms. (Id.).

II.     LEGAL DISCUSSION

        A.     Severance of Bank Robbery Counts

        The defendant claims that the offense alleged in Count Six should be severed because it is

unrelated to the conspiracies alleged in Counts One, Two, and Three. (Doc. No. 38: Motion at 1).

He claims that evidence of his criminal record, an element of Count Six, would unduly prejudice

him in the eyes of the jury. (Id.). However, the defendant has also filed notice of his intent to rely

on the defense of entrapment. (Doc. No. 36).

        Rule 8 of the Federal Rules of Criminal Procedure permits joinder of offenses that are “of

the same or similar character,” or “are connected with or constitute parts of a common scheme or

plan.” The Fourth Circuit has interpreted this rule flexibly, requiring only that joined offenses

have a “logical relationship” with one another. United States v. Cardwell, 433 F.3d 378, 385 (4th

Cir. 2005). Courts have a strong interest in judicial economy and joinder is the rule rather than

the exception. United States v. Acker, 52 F.3d 509, 514 (4th Cir. 1995). To avoid a joint trial, a

defendant must show a serious risk that a jury would be prevented from making a reliable

judgment about guilt or innocence. Cardwell, 433 F.3d at 388. Additionally, the risk of prejudice

is neutralized with a proper instruction that the jury consider each charge separately. Id.

                                                  2


      Case 3:11-cr-00111-RJC-SCR            Document 52        Filed 12/05/11      Page 2 of 4
         A claim of prejudice is weakened when evidence of one offense would be admissible in

the trial of another under Federal Rule of Evidence 404(b). United States v. Isom, 138 Fed. Appx.

574, 580 (4th Cir. July 12, 2005) (citing United States v. Bragan, 499 F.2d 1376, 1380 (4th Cir.

1974)). The Fourth Circuit has recognized that evidence of possession of a firearm on one

occasion is admissible 404(b) evidence to prove possession of the firearm on a separate date

charged in the indictment. United States v. Brown, 151 Fed. Appx. 286, 288 (4th Cir. Oct. 27,

2005).

         Here, the government will attempt to prove that the defendant planned to rob drug dealers

while being armed with firearms and then sell the drugs obtained in the robbery. The inchoate

nature of the alleged offenses will focus attention at trial on the defendant’s intent to participate in

the robbery, drug trafficking, and firearms conspiracies. The defendant himself has put intent

squarely at issue by claiming entrapment, which requires that the defendant lack predisposition to

engage in the criminal conduct, United States v. Ramos, 462 F.3d 329, 334 (4th Cir. 2006).

Evidence establishing that the defendant previously possessed a firearm bears directly on the

questions of predisposition and intent to possess a firearm as part of the alleged conspiracies.

United States v. Pinion, No. 10–4343, 2011WL5126223, slip op. at *1 (4th Cir. Oct. 31, 2011)

(prior possession provides reason to believe defendant would have gun available on later

occasion). Thus, even if Count Six were severed, the evidence about the defendant’s alleged

possession on an earlier date would be admissible in a separate trial on Counts One, Two, and

Three.

         The Court finds that the defendant has not established a serious risk that the jury will not

be able to return a reliable verdict if the offenses are tried together. The Court intends to instruct

the jury to consider the evidence regarding each count separately and not to consider the

                                                   3


     Case 3:11-cr-00111-RJC-SCR              Document 52        Filed 12/05/11      Page 3 of 4
defendant’s status as a felon except as an element of Count Six. Thus, the risk of prejudice of a

joint trial will be neutralized by a jury instruction and the defendant will suffer no additional

prejudice from a joint trial because the evidence of the earlier alleged gun possession would be

admissible in a separate trial.

III.     CONCLUSION

         IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

         The Clerk is directed to certify copies of this order to the defendants, counsel for the

defendants, and to the United States Attorney.

                                                    Signed: December 5, 2011




                                                   4


       Case 3:11-cr-00111-RJC-SCR            Document 52        Filed 12/05/11      Page 4 of 4
